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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW HAMPSHIRE

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cafe La Reine - North End, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  53 Hooksett Road
                                  Manchester, NH 03104
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hillsborough                                                    Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  53 Hooksett Road Manchester, NH 03104
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Cafe La Reine - North End, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Cafe La Reine - North End, LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Cafe La Reine - North End, LLC                                              Case number (if known)
         Name

                               $50,001 - $100,000                        $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Cafe La Reine - North End, LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 7, 2023
                                                  MM / DD / YYYY


                             X   /s/ Alexandra Horton                                                     Alexandra Horton
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Eleanor Wm. Dahar                                                     Date July 7, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eleanor Wm. Dahar
                                 Printed name

                                 Victor W. Dahar Professional Association
                                 Firm name

                                 20 Merrimack Street
                                 Manchester, NH 03101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (603) 622-6595                Email address      vdaharpa@att.net

                                 BNH 01784 NH
                                 Bar number and State




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Debtor     Cafe La Reine - North End, LLC                                                    Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW HAMPSHIRE

Case number (if known)                                                   Chapter      7
                                                                                                                          Check if this an
                                                                                                                          amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



                                                                                                                      She is Principal of
Debtor     Alexandra Horton                                                        Relationship to you                Debtor
District   New Hampshire                              When                         Case number, if known              TBD
                                                                                                                      Principal of Debtor is
Debtor     Cafe La Reine, LLC                                                      Relationship to you                same
District   New Hampshire                              When                         Case number, if known              TBD




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 6
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Fill in this information to identify the case:

Debtor name         Cafe La Reine - North End, LLC

United States Bankruptcy Court for the:    DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $120,259.19
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                 $82,963.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Cafe La Reine - North End, LLC                                                     Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Alexandra Horton                                     None                                    $0.00
              817 Maple Street
              Manchester, NH 03104
              Principal

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None




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Debtor        Cafe La Reine - North End, LLC                                                      Case number (if known)



               Recipient's name and address            Description of the gifts or contributions                  Dates given                           Value

      9.1.     Friends of Stark Park                   monetary donation
               Manchester, NH 03104                                                                               2022                              $250.00

               Recipients relationship to debtor
               No relationship


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).
      The Debtor suffered a loss by theft              Debtor was reimbursed $500.00 by                           02/12/2023                        $500.00
      of cash drawers and cash.                        insurance company and the funds were
                                                       used to purchase new cash drawers.


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Victor W. Dahar Professional
                Association
                20 Merrimack Street                      Attorney Fees, including filing fee to
                Manchester, NH 03101                     Court.                                                                                   $2,800.00

                Email or website address
                vdaharpa@att.net

                Who made the payment, if not debtor?
                Benjamin Horton, Spouse of
                Principal



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
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Debtor      Cafe La Reine - North End, LLC                                                       Case number (if known)




          None.

             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value
      13.1 Primary Bank
      .    207 Route 101
             Bedford, NH 03110                                                                                                                       $0.00

             Relationship to debtor
             No relation


 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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Debtor      Cafe La Reine - North End, LLC                                                       Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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Debtor      Cafe La Reine - North End, LLC                                                      Case number (if known)



           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Robert Corallino, CPA                                                                                              2022 tax return
                    114 Bay Street
                    Manchester, NH 03104

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Primary Bank
                    207 Route 101
                    Bedford, NH 03110

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?


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Debtor      Cafe La Reine - North End, LLC                                                     Case number (if known)




           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory       The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Alexandra Horton                       817 Maple Street                                    Manager                                 100%
                                             Manchester, NH 03104



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Alexandra Horton
      .    817 Maple Street                                                                                     No
             Manchester, NH 03104                     No distributions                                          distributions

             Relationship to debtor
             Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
            Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                              Page 14 of 39
Debtor      Cafe La Reine - North End, LLC                                                      Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 7, 2023

/s/ Alexandra Horton                                            Alexandra Horton
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
           Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                                    Page 15 of 39

Fill in this information to identify the case:

Debtor name         Cafe La Reine - North End, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Primary Bank - Account                            Checking                              2772                                         $43.31



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                          $43.31
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Cafe La Reine - North End, LLC                                          Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          See attached list. Much
          of the inventory was
          perishable and has
          expired.                                                                 $0.00                                          $1,000.00




23.       Total of Part 5.                                                                                                     $1,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
              No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor       Cafe La Reine - North End, LLC                                                 Case number (If known)
             Name

          Printer on site                                                                 $0.00                                          $100.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $100.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          See attached equipment list, including the
          coffee roaster, which is financed through
          Alliance Coffee Funding.                                                        $0.00                                             $0.00




51.       Total of Part 8.                                                                                                               $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor       Cafe La Reine - North End, LLC                                                Case number (If known)
             Name




Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                page 4
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Debtor          Cafe La Reine - North End, LLC                                                                      Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                   $43.31

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $1,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $100.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                $1,143.31         + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $1,143.31




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
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                                     CAFE LA REINE - NORTH END, LLC Inventory List


     Toilet paper

     Dispensers for
     toilet paper, paper
     towels

     Soap dispensers

     Dish soap

     Sanitizer

     Pre soak

     Ecolab products

     Freezer cleaner

     Menu sleeves

     Drink buckets

     Paper towels

     Drink mixers

     Stock

     GF our

     Olive oil

     syrup

     Disposable cups

     To go containers

     Sauces

     Juices

     Honey

     Baking needs,
     baking powder,
     etc

     Hand soap

     Alternative milks

     Fry oil

     Trash bags

     Liquor

     Frozen Breads




                                                                1
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                                             Cafe la Reine - North End, LLC Equipment List


           La Marzocco 2
           group espresso
           machine

           2 Mazzer
           espresso grinders

           2 Bunn ITCB
           brewer

           2 Bunn Co ee
           Grinders

           Manitowoc 500lb
           Ice Machine

           Kegerator, tap
           system and
           regulators

           Conveyor Toaster
           (needs fan)

           2 mini fridges

           Under Counter
           fridge

           Butcher block
           table

           Stainless Steel
           Prep Table

           2 Grills

           2 Microwaves

           Upright fridge/
           freezer

           2 fryers

           Fryer table

           Double Wa e Iron

           Panini Press

           Salad Unit

           Various mugs,
           glasses, plates,
           and cooking
           utensils

           26 Booths

           Bar with
           Permanent
           Seating

           11 Tables with
           bases

           32 chairs

           1 High Chair, 3
           booster seats

           Neon Logo Sign

           Outdoor Tables
           and chairs (8 sets)

           Outdoor picnic
           tables (6)

           Vacuum

           Mirror and
           bathroom xtures

           Blodgett Oven



                                                                        1
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ff
     ffl
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     Food processor

     2 slicers

     Kitchen Aid Mixer
     with extra bowl

     Stereo

     Ring Cameras (9)

     Ring Security
     System

     Juicer

     Cake plates and
     stands

     Various shelving
     units

     Various storage
     containers

     Stainless steel
     pans

     Plastic pans

     Mop Sink

     Prep Sink

     3 Bay Sink

     4 Hand Sinks

     Walk in Cooler/
     Freezer

     Soup Warmers

     Silverware

     Glassware

     Fire Suppression
     hoods (2)

     2 ice cream
     coolers

     Beverage station
     with sink

     Hot fudge
     warmers

     2 burners stove

     Espresso water
      ltration system

     Vitamin blender

     Grease trap

     Storage unit
     outside

     Mop bucket

     TVs (6)

     Printer

     Walkie Talkies

     Safe

     Tablet

     Alexa

     Trash cans

     Merch shelf




                                                              2
fi
                     Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document   Page 23 of 39




Airpots

2 benches

Host stand

Chalkboard signs

Bussers cart

Scale

50 gallon food
storage
containers

Umbrellas

Small Ice machine

Donut maker

Fry cutters (2)

Apple peeler

Folding table

cooler

Frothing pitchers

Shakers, bar tools

Frappe machine

3 Open signs

Table tents

9 basket lights

10 globe lights

Host sign




                                                          3
           Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                                         Page 24 of 39

Fill in this information to identify the case:

Debtor name         Cafe La Reine - North End, LLC

United States Bankruptcy Court for the:           DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Alliance Funding Group                       Describe debtor's property that is subject to a lien                     Unknown                       $0.00
      Creditor's Name                              See attached equipment list, including the
                                                   coffee roaster, which is financed through
      17542 17th Street, #200                      Alliance Coffee Funding.
      Tustin, CA 92780
      Creditor's mailing address                   Describe the lien
                                                   UCC Financing Statement on leased
                                                   equipment
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8500
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Corporation Service
2.2                                                                                                                         Unknown                  Unknown
      Company, as Rep.                             Describe debtor's property that is subject to a lien
      Creditor's Name                              All equipment, modifications, accessions,
                                                   attachments, replacements and proceeds
      P.O. Box 2576                                relative to equipment lease dated 2/7/23
      Springfield, IL 62798
      Creditor's mailing address                   Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
           Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                                        Page 25 of 39

Debtor      Cafe La Reine - North End, LLC                                                        Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Primary Bank                                Describe debtor's property that is subject to a lien                     $251,778.00     Unknown
      Creditor's Name                             Mortgage on Principal's residence and UCC
                                                  Financing Statement - Equipment belonging
      207 Route 101                               to Debtor
      Bedford, NH 03110
      Creditor's mailing address                  Describe the lien
                                                  Non-revolving line of Credit Converting to a
                                                  Term Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan1
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Primary Bank                                Describe debtor's property that is subject to a lien                      $46,010.59     Unknown
      Creditor's Name                             UCC Financing Statement - Equipment
                                                  belonging to Debtor
      207 Route 101
      Bedford, NH 03110
      Creditor's mailing address                  Describe the lien
                                                  Commercial Line of Credit
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      oan2
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Toast Capital, LLC                          Describe debtor's property that is subject to a lien                      $27,820.83     Unknown
      Creditor's Name                             Installment Agreement - secured by UCC
                                                  Financing Statement
      401 Park Drive, Suite 801
      Boston, MA 02215
      Creditor's mailing address                  Describe the lien
                                                  Business loan and security agreement

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 3
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Debtor      Cafe La Reine - North End, LLC                                                        Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $325,609.42

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Mark D. Kanakis, Esq.
       Smith-Weiss Shepard Kanakis & Spony, PC                                                              Line   2.3
       47 Factory Street
       Nashua, NH 03060

       Mark D. Kanakis, Esq.
       Smith-Weiss Shepard Kanakis & Spony, PC                                                              Line   2.4
       47 Factory Street
       Nashua, NH 03060

       US Small Business Adminstration
       2 North Street, Suite 320                                                                            Line   2.3                                9107
       Birmingham, AL 35203

       US Small Business Adminstration
       2 North Street, Suite 320                                                                            Line   2.4
       Birmingham, AL 35203

       WebBank
       172 South Street                                                                                     Line   2.5
       New Providence, NJ 07974




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
            Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                                                   Page 27 of 39

Fill in this information to identify the case:

Debtor name        Cafe La Reine - North End, LLC

United States Bankruptcy Court for the:         DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Alexandra Horton                                                     Contingent
          817 Maple Street                                                     Unliquidated
          Manchester, NH 03104                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Loans to company
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $18,777.91
          American Express Business Line of Credit                             Contingent
          PO Box 270622                                                        Unliquidated
          Atlanta, GA 30357                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Business line of credit
          Last 4 digits of account number    8605
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $160.50
          Amoskeag Beverages                                                   Contingent
          510 Hall Street                                                      Unliquidated
          Bow, NH 03304                                                        Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number    9562
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,070.12
          Citizens Bank                                                        Contingent
          1 Citizens Drive                                                     Unliquidated
          Riverside, RI 02915-3019                                             Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Overdraft line of credit
          Last 4 digits of account number    3534
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                          32345
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Debtor       Cafe La Reine - North End, LLC                                                         Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $378.24
          Comcast Business                                                    Contingent
          P.O. Box 21828                                                      Unliquidated
          Eagan, MN 55121-0828                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number   2246
                                                                           Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $90.00
          Hometown Coffee Roasters                                            Contingent
          80 Old Granite Street                                               Unliquidated
          Manchester, NH 03101                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number   4459
                                                                           Is the claim subject to offset?     No       Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $38,372.32
          Mitsubishi HC Capital America                                       Contingent
          7201 Metro Boulevard, Suite 800                                     Unliquidated
          Edina, MN 55439                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Installment agreement - equipment financing
          Last 4 digits of account number   0001
                                                                           Is the claim subject to offset?     No       Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,042.94
          Spectrum Marketing Companies                                        Contingent
          95 Eddy Road, Suite 101                                             Unliquidated
          Manchester, NH 03102                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number   CAFLAREI
                                                                           Is the claim subject to offset?     No       Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,376.10
          The Fruit Center                                                    Contingent
          15 Webster Street                                                   Unliquidated
          Manchester, NH 03104                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number   1608
                                                                           Is the claim subject to offset?     No       Yes

3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,742.80
          US Bank                                                             Contingent
          PO Box 6335                                                         Unliquidated
          Fargo, ND 58125-6335                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Credit Card purchases
          Last 4 digits of account number   0943
                                                                           Is the claim subject to offset?     No       Yes

3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $13,525.33
          US Foods                                                            Contingent
          100 Ledge Road                                                      Unliquidated
          Seabrook, NH 03874                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number   3115
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
            Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                                            Page 29 of 39

Debtor      Cafe La Reine - North End, LLC                                                      Case number (if known)
            Name

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any
4.1       Toast
          401 Park Drive, Suite 801                                                             Line     3.7                                    0001
          Boston, MA 02215
                                                                                                       Not listed. Explain

4.2       US Bank
          P.O. Box 790408                                                                       Line     3.10
          Saint Louis, MO 63179
                                                                                                       Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
5a. Total claims from Part 1                                                                       5a.          $                          0.00
5b. Total claims from Part 2                                                                       5b.    +     $                     92,536.26

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.          $                         92,536.26




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
           Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                                   Page 30 of 39

Fill in this information to identify the case:

Debtor name       Cafe La Reine - North End, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Sixty-eight (68) month
           lease is for and the nature of        lease commencing July
           the debtor's interest                 1, 2022 and ending on
                                                 February 29, 2028.
                                                 Free rent period,
                                                 months 1-8: $0.00 per
                                                 month base rent and
                                                 commencing March 1,
                                                 2023, base rent is
                                                 $5,536.00 per month.
                                                 As "additional rent",
                                                 tenant also pay its
                                                 proportionate share of
                                                 real estate taxes,
                                                 assessments, charges,
                                                 utility costs, insurance
                                                 premiums, repair costs
                                                 and expenditures of
                                                 Landlord, as outlined in
                                                 the Lease.
               State the term remaining                                             53 DW Highway North, LLC
                                                                                    c/o CPManagement, LLC
           List the contract number of any                                          11 Court Street, Suite 100
                 government contract                                                Exeter, NH 03833


2.2.       State what the contract or            60 month lease for
           lease is for and the nature of        equipment at $2,528.56
           the debtor's interest                 per month,
                                                 commencing
                                                 02/07/2023.
               State the term remaining
                                                                                    Alliance Funding Group
           List the contract number of any                                          17542 17th Street, #200
                 government contract                                                Tustin, CA 92780




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Cafe La Reine - North End, LLC

United States Bankruptcy Court for the:   DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Alexandra                   817 Maple Street                                          Primary Bank                       D   2.3
          Horton                      Manchester, NH 03104                                                                         E/F
                                                                                                                                   G




   2.2    Alexandra                   817 Maple Street                                          Mitsubishi HC Capital              D
          Horton                      Manchester, NH 03104                                      America                            E/F       3.7
                                                                                                                                   G




   2.3    Alexandra                   817 Maple Street                                          Alliance Funding                   D   2.1
          Horton                      Manchester, NH 03104                                      Group                              E/F
                                                                                                                                   G




   2.4    Alexandra                   817 Maple Street                                          American Express                   D
          Horton                      Manchester, NH 03104                                      Business Line of                   E/F       3.2
                                                                                                Credit
                                                                                                                                   G




   2.5    Alexandra                   817 Maple Street                                          Primary Bank                       D   2.4
          Horton                      Manchester, NH 03104                                                                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Cafe La Reine - North End, LLC                                          Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Alexandra                817 Maple Street                                    Toast Capital, LLC                 D   2.5
          Horton                   Manchester, NH 03104                                                                   E/F
                                                                                                                          G




  2.7     Benjamin Horton          817 Maple Street                                    Primary Bank                       D   2.3
                                   Manchester, NH 03104                                                                   E/F
                                                                                                                          G




  2.8     Cafe La Reine,           915 Elm Street                                      Primary Bank                       D   2.3
          LLC                      Manchester, NH 03104                                                                   E/F
                                                                                                                          G




  2.9     Alexandra                817 Maple Street                                    53 DW Highway                      D
          Horton                   Manchester, NH 03104                                North, LLC                         E/F
                                                                                                                          G   2.1




  2.10    Alexandra                817 Maple Street                                    Alliance Funding                   D
          Horton                   Manchester, NH 03104                                Group                              E/F
                                                                                                                          G   2.2




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
              Case: 23-10368-BAH Doc #: 1 Filed: 07/13/23 Desc: Main Document                                                                                                      Page 33 of 39

 Fill in this information to identify the case:

 Debtor name            Cafe La Reine - North End, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW HAMPSHIRE

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $              1,143.31

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $              1,143.31


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $           325,609.42


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$            92,536.26


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $             418,145.68




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              District of New Hampshire
 In re       Cafe La Reine - North End, LLC                                                                   Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,800.00
             Prior to the filing of this statement I have received                                        $                     2,800.00
             Balance Due                                                                                  $                         0.00

2.    $     338.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor             Other (specify):      Benjamin Horton, Spouse of Principal

4.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 7, 2023                                                             /s/ Eleanor Wm. Dahar
     Date                                                                     Eleanor Wm. Dahar
                                                                              Signature of Attorney
                                                                              Victor W. Dahar Professional Association
                                                                              20 Merrimack Street
                                                                              Manchester, NH 03101
                                                                              (603) 622-6595 Fax: (603) 647-8054
                                                                              vdaharpa@att.net
                                                                              Name of law firm
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Fill in this information to identify the case:

Debtor name         Cafe La Reine - North End, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 7, 2023                    X /s/ Alexandra Horton
                                                           Signature of individual signing on behalf of debtor

                                                            Alexandra Horton
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                          United States Bankruptcy Court
                                                District of New Hampshire
 In re   Cafe La Reine - North End, LLC                                                Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Cafe La Reine - North End, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 7, 2023                                     /s/ Eleanor Wm. Dahar
Date                                             Eleanor Wm. Dahar
                                                 Signature of Attorney or Litigant
                                                 Counsel for Cafe La Reine - North End, LLC
                                                 Victor W. Dahar Professional Association
                                                 20 Merrimack Street
                                                 Manchester, NH 03101
                                                 (603) 622-6595 Fax:(603) 647-8054
                                                 vdaharpa@att.net
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                                             United States Bankruptcy Court
                                                    District of New Hampshire
 In re   Cafe La Reine - North End, LLC                                                       Case No.
                                                                   Debtor(s)                  Chapter      7




                            VERIFICATION OF CREDITOR MAILING LIST


         The above named debtor hereby certifies under penalty of perjury that the attached master mailing list of creditors, consisting
of 2 pages is complete, correct and consistent with the debtor’s schedules pursuant to LBRs and assumes all responsibility for
errors and omissions.



Date: July 7, 2023                                                  /s/ Alexandra Horton
                                                                    Debtor Signature
                                                                    Alexandra Horton
                                                                    Print Name
                                                                    Address 53 Hooksett Road
                                                                    Manchester NH 03104-0000
                                                                    Tel. No.




LBF 1007-2 (Eff. 11/1/16)
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    53 DW Highway North, LLC
    c/o CPManagement, LLC
    11 Court Street, Suite 100
    Exeter, NH 03833

    Alexandra Horton
    817 Maple Street
    Manchester, NH 03104

    Alliance Funding Group
    17542 17th Street, #200
    Tustin, CA 92780

    American Express Business Line of Credit
    PO Box 270622
    Atlanta, GA 30357

    Amoskeag Beverages
    510 Hall Street
    Bow, NH 03304

    Citizens Bank
    1 Citizens Drive
    Riverside, RI 02915-3019

    Comcast Business
    P.O. Box 21828
    Eagan, MN 55121-0828

    Corporation Service Company, as Rep.
    P.O. Box 2576
    Springfield, IL 62798

    Hometown Coffee Roasters
    80 Old Granite Street
    Manchester, NH 03101

    Mark D. Kanakis, Esq.
    Smith-Weiss Shepard Kanakis & Spony, PC
    47 Factory Street
    Nashua, NH 03060

    Mitsubishi HC Capital America
    7201 Metro Boulevard, Suite 800
    Edina, MN 55439

    Primary Bank
    207 Route 101
    Bedford, NH 03110

    Spectrum Marketing Companies
    95 Eddy Road, Suite 101
    Manchester, NH 03102
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The Fruit Center
15 Webster Street
Manchester, NH 03104

Toast
401 Park Drive, Suite 801
Boston, MA 02215

Toast Capital, LLC
401 Park Drive, Suite 801
Boston, MA 02215

US Bank
PO Box 6335
Fargo, ND 58125-6335

US Bank
P.O. Box 790408
Saint Louis, MO 63179

US Foods
100 Ledge Road
Seabrook, NH 03874

US Small Business Adminstration
2 North Street, Suite 320
Birmingham, AL 35203

WebBank
172 South Street
New Providence, NJ 07974
